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                                                U NI T E D S T A T E S DI S T RI C T C O U R T
                                                    DI S T RI C T O F S O U T H D A K O T A
                                                            W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                        5: 2 0 - C R-5 0 1 2 2
                Pl ai ntiff                                                        R E N E W E D M O TI O N T O C O M P E L F E D. R.
                        v.                                                         C RI M. P R O. 1 6 . DI S C O V E R Y , TI M E L Y
                                                                                     B R A D Y DI S C L O S U R E A N D F O R
KI M B E R L E E PI T A W A N A K W A T                                            S A N C TI O N S I N C L U DI N G C O N T E M P T
                D ef e n d a nt




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e L a wr e n c e L. Pi ers ol
U nit e d St at es Distri ct J u d g e
R m 2 0 2 U nit e d St at es C o urt h o us e
4 0 0 S. P hilli ps A v e n u e
Si o u x F alls, S D 5 7 1 0 4

R e : D ef e n d a nt M o v es t his H o n or a bl e C o urt T o C o m p el F e d. R ul e Cri mi n al Pr o c e d ur e 1 6 . Dis c o v er y,
Br a d y v. M ar yl a n d dis cl os ur e A n d F or S a n cti o ns I n cl u di n g C o nt e m pt a n d f or t h e f oll o wi n g r e as o ns:

A D DI TI O N A L F A C T U A L B A C K G R O U N D

     1.    D ef e n d a nt dr a ws t his H o n or a bl e C o urt’s att e nti o n t o t h e g e n er al f a ct u al b a c k gr o u n d pr es e nt e d i n

           D o c k et N o. 2 4 0, D ef e n d a nts first M oti o n t o C o m p el . T h e af or es ai d M oti o n w as a d dr ess e d t o t h e

           Distri ct C o urt J u d g e c urr e ntl y assi g n e d t o D ef e n d a nt’s c as e, t h e H o n or a bl e L a wr e n c e L. P i ers ol,

           b ut a d e cisi o n w as i m pr o p erl y r e n d er e d o n t h at M oti o n b y M a gistr at e J u d g e Ver o ni c a L. D uff y .

     2.    O n J ul y 5, 2 0 2 3, t h e G o v er n m e nt fil e d a s e v e n-p a g e R es p o ns e ( D o c k et N o. 2 4 2) t o D ef e n d a nt’s

           M oti o n t o C o m p el w hi c h c o nt ai n e d s e v er al dir e ct li es t o t h e C o urt, w hi c h will b e d et ail e d a n d

           e vi d e n c e d b el o w. T h e m ost si g nifi c a nt li e, a m o n gst m a n y, pr es e nt e d t o t h e C o urt w as t h e


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        f oll o wi n g i nt e nti o n al dir e ct mis r e pr es e nt ati o n: “ T h e U nit e d St at es h as n o p h ysi c al e vi d e n c e i n t h e

        d ef e n d a nt’s c as e ” a n d “ T o b e cl e ar, t h er e w as n ot a si n gl e “s p e nt b ull et. ” ” o n p a g e 5, p ar a gr a p hs 2

        a n d 3 . T his dir e ct li e a b o ut t h e e xist e n c e of a bl o o dst ai n e d s p e nt b ull et ( h er ei n aft er b ull et), a

        cr u ci al it e m of p h ysi c al e vi d e n c e l o c at e d i n t h e all e g e d vi cti m’s fr o nt p ass e n g er f o ot w ell, is a

        dir e ct li e t o t his H o n or a bl e C o urt b y a n Assist a nt U nit e d St at es Att or n e y, Offi c er of t h e C o urt , a n d

        s h o ul d n ot b e all o w e d t o st a n d .

   3.   T his C o urt s h o ul d i m m e di at el y r e q uir e t h at A U S A S a z a m a pr o vi d e a s w or n d e cl ar ati o n

        r es p o n di n g t o t h e dir e ct e vi d e n c e fr o m D ef e ns e E x p ert J o h n Ni x o n, i n cl u di n g G o v er n m e nt

        dis c o v er y p h ot o gr a p hs pr o vi d e d hi m b y f or m er d ef e ns e c o u ns el, t h at t h er e is a b ull et at iss u e i n

        t his c as e, w h er e t h at b ull et is l o c at e d a n d w h y s h e li e d t o t h e C o urt a b o ut its e xist e n c e. It is iro ni c

        t h at D ef e n d a nt is f als el y c h ar g e d wit h l yi n g t o a f e d er al a g e nt ( ass u mi n g t h at f or m er O S T PS CI

        P u c k ett e v er w as a f e d er al a g e nt) y et A U S A S a z a m a a p p e ars t o li e wit h r e c kl ess a b a n d o n t o t his

        H o n or a bl e C o urt.

   4.   T his D ef e n d a nt d o es n ot ass ert t h at A U S A S a z a m a or t h e U S A O is i n p ers o n al p oss essi o n of t h e

        s p e nt b ull et, b ut t h at t h e l a w e nf or c e m e nt a g e nts t h at A U S A S a z a m a dir e ctl y o v ers e es , s u c h as t h e

        F BI, ar e i n p oss essi o n of t his b ull et, or if t h e y ar e n ot, t h e n t h e y h a v e d eli b er at el y d estr o y e d

        e x c ul p at or y e vi d e n c e a n d t his c o n d u ct is a dir e ct vi ol ati o n of D ef e n d a nt’s C o nstit uti o n al Ri g hts

        a n d A U S A’s o bli g ati o ns as a pr os e c ut or .

   A P A T T E R N O F J U DI CI A L MI S C O N D U C T I N T HI S C A S E

   5.   O n J ul y 6, 2 0 2 3, M a gistr at e J u d g e Ver o ni c a D uff y iss u e d h er Or d er D e n yi n g D ef e n d a nt’s M oti o n

        t o C o m p el. M a gistr at e J u d g e D uff y a ct e d u ltr a v ir es i n iss ui n g h er r uli n g b e c a us e s h e is n ot

        a ut h ori z e d b y 2 8 U. S. C. § 6 3 6( b)( 1)( A ) t o m a k e s u c h a r uli n g. A M oti o n t o C o m p el is d efi n e d as a

        “ f or m al r e q u est t o t h e C o urt t o r e q uir e a p art y or a n o n-p art y i n a l a ws uit t o c o m pl y wit h a

        dis c o v er y r e q u est s u c h as a r e q u est f or pr o d u cti o n, r e q u est f or a d missi o n, i nt err o g at or y, or

        s u b p o e n a.” S u c h a M oti o n is a r e q u est f or a n i nj u n cti o n, w hi c h is d efi n e d as: “ A n i nj u n cti o n is a

        c o ur t or d er r e q uiri n g a p ers o n t o d o or c e as e d oi n g a s p e cifi c a cti o n. ” B ot h i nj u n cti o ns a n d

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        M oti o ns t o C o m p el r e q uir e t h e c o m p ulsi o n p o w er of t h e C o urt t o m a k e s o m et hi n g h a p p e n a n d ar e

        d efi niti o n all y e q ui v al e nt .

   6.   St a n di n g Or d er 2 1 -0 8 of t his H o n or a bl e C o urt i s att a c h e d t o t his M oti o n as E x hi bit A. T h at

        st a n di n g or d er pr o vi d es a d esi g n ati o n of j uris di cti o n fr o m t h e H o n or a bl e L a wr e n c e L. Pi ers ol t o

        M a gistr at e J u d g e Ver o ni c a L. D uff y p urs u a nt t o 2 8 U. S. C. § 6 3 6( b)( 1)( A) a n d pr o vi d es t h e

        f oll o wi n g st at ut or y li mit ati o n o n M a gistr at e D uff y’s j uris di cti o n:

                    “ t o h e ar a n d d et er mi n e a n y pr etri al m att er p e n di n g b ef or e t h e c o urt, e x c e pt a m oti o n

                    f o r i nj u n cti v e r eli ef, f or j u d g m e nt o n t h e pl e a di n gs, f or s u m m ar y j u d g m e nt, t o

                    dis miss or q u as h a n i n di ct m e nt or i nf or m ati o n m a d e b y t h e d ef e n d a nt, t o s u p pr ess

                    e vi d e n c e i n a cri mi n al c as e, t o dis miss or t o p er mit m ai nt e n a n c e of a cl ass a cti o n, t o

                    dis miss f or f ail ur e t o st at e a cl ai m u p o n w hi c h r eli ef c a n b e gr a nt e d, a n d t o

                    i n v ol u nt aril y dis miss a n a cti o n.”

   7.   T h e l a n g u a g e “ e x c e pt a m oti o n f or i nj u n cti v e r eli ef ” s p e cifi c all y e x cl u d es M a gistr at e J u d g e

        D uff y fr o m m a ki n g d e cisi o ns i n M oti o ns f or I nj u n cti v e r eli ef, s u c h as D ef e n d a nt’s M oti o n t o

        C o m p el. T h er ef or e, M a gistr at e D uff y w as a cti n g u ltr a v ir es i n iss ui n g h er Or d er ( Do c k et N o. 2 4 3)

        d e n yi n g D ef e n d a nt’s M oti o n t o C o m p el, a n d it s h o ul d b e wit h dr a w n a n d h a v e n o a ut h orit y si n c e

        t h e M a gistr at e w as us ur pi n g t h e a ut h orit y r es er v e d t o t h e Distri ct C o urt J u d g e.

   8.   B e c a us e t h e M a gistr at e iss u e d a n ultr a vir es Or d er D ef e n d a nt will n ot a d d r ess e a c h of t h e ill e g al

        fi n di n gs m a d e b y J u d g e D uff y, b ut i nst e a d tr e at D ef e n d a nt ’s i niti al M oti o n t o C o m p el a n d t his

        R e n e w e d M oti o n t o C o m p el as p e n di n g, i n cl u di n g D ef e n d a n t’s r e as o n a bl e r e q u est f or dir e ct

        a c c ess t o dis c o v er y i n t h e c as e, si n c e D ef e n d a nt n o w r e pr es e nts h ers elf a n d s u c h r e q u est is

        r e as o n a bl e, is all o w e d b y t h e L o c al R ul es , a n d is c o nsist e nt wit h t h e pr a cti c e i n m ost Distri cts,

        w hi c h all o w dir e ct a c c ess t o d isc o v er y i n t his t y p e of c as e, p arti c ul arl y w h er e D ef e n d a nt h as b e e n

        i n c o m pli a n c e wit h all c o n diti o ns of r el e as e for o v er 2. 5 y e ars.

   9.   I n a d diti o n, t h e M a gistr at e w as b ot h l e g all y a n d f a ct u all y wr o n g i n m a n y as p e cts of h er h ast y

        r uli n g, m a d e wit h o ut o p p ort u nit y f or t h e D ef e n d a nt t o r es p o n d. M a gistr at e D uff y d o es n ot h a v e

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        a ut h orit y t o o v err ul e J u d g e S c hri er w h o a p pr o v e d D ef e n d a nt’s r e q u est o n J u n e 1 5, 2 0 2 3, or

        Ei g ht h Cir c uit C o urt of A p p e als C hi ef J u d g e L a v e ns ki R. S mit h, w h o a p pr o v e d D ef e n d a nt’s

        r e q u est o n J u n e 2 3, 2 0 2 3. J u d g e D uff y h as v astl y e x c e e d e d t h e s c o p e of h er a ut h orit y a n d a ct e d

        i m pr o p erl y.

   1 0. If t h e Distri ct C o urt is u n a bl e t o a p pr o pri at el y s u p er vise Offi c ers of t h e C o urt s u c h as A U S A

        S a z a m a, or r es p e ct t h e a ut h orit y of Distri ct C o urt J u d g e K ar e n E. S c hr ei er, or t h e Ei g ht h Cir c uit

        C o urt of A p p e al, t h e n t his C o urt s h o ul d a ut h ori z e a n i nt erl o c ut or y a p p e al of t his iss u e t o t h e

        Ei g ht h Cir c uit, si n c e t h e D ef e n d a nt is i n a n i m p ossi bl e p ositi o n, wit h t h e s u p er visi n g C o urt

        a ut h ori zi n g t esti n g of a b ull et t h at t his C o urt will n ot or d er b e m a d e a v ail a bl e, a n d w hi c h t h e

        G o v er n m e nt ar e all o w e d t o m a k e f als e st at e m e nts a b o ut wit h a p p ar e nt i m p u nit y.

   1 1. M a g istr at e J u d g e D uff y’s i m m e di at e r uli n g a g ai nst D ef e n d a nt, t h e v er y d a y aft er t h e

        G o v er n m e nt’s r e pl y wit h o ut a d dr essi n g a n y of t h e i m p ort a nt p oi nts r ais e d i n t h e M oti o n str o n gl y

        s u g g ests bi as o n t h e p art of t h e M a gistr at e a n d is p art of a tr o u bli n g p att er n of a p p ar e nt j u di ci al

        mis c o n d u ct i n D ef e n d a nt’s c as e.

   1 2. A c c or di n g t o P A C E R n otifi c ati o ns r e c ei v e d b y D ef e n d a nt, A U S A S a z a m a fil e d h er r es p o ns e t o

        D ef e n d a nt’s i nst a nt M oti o n o n J ul y 5, 2 0 2 3, at 2: 4 1 C S T. M a gistr at e D uff y r ul e d a g ai nst

        D ef e n d a nt i n e v er y r e g ar d, i n cl u di n g t esti n g t h e b ull et, o n J ul y 6, 2 0 2 3, at 1 1: 0 2 C S T.

   1 3. T his all o w e d M a gistr at e D uff y e x a ctl y 5 h o urs a n d 2 1 mi n ut es of r e g ul ar f e d er al w or k ti m e t o

        r e vi e w D ef e n d a nt’s t hirt e e n-p a g e M oti o n a n d Pr o p os e d Or d er wit h ni n e p a g es of e x hi bits a n d t h e

        G o v er n m e nt’s s e v e n -p a g e pl e a di n g, pl us r ef er e n c e a n y ot h er d o c u m e nts i n a C o urt r e c or d t h at s h e

        c o ul d n ot b e f a mili ar wit h . M a gistr at e D uff y w as o nl y assi g n e d t o D ef e n d a nt’s c as e aft er

        M a gistr at e W oll m a n n r e c us e d h ers elf b e c a us e of “ t h e a p p e ar a n c e” of bi as o n M a y 3 1, 2 0 2 3 .

   1 4. T h e M oti o n t h at cl e arl y c a us e d M a gistr at e W oll m a n n t o r e c us e h ers elf f or “t h e a p p e ar a n c e ” of

        bi as h as i m pr o p erl y n ot b e e n pl a c e d i n t h e r e c or d of t his c as e, e v e n t h o u g h D ef e n d a nt di d n ot

        r e q u est t h at it b e fil e d e x p art e, s o is att a c h e d t o t his M oti o n as D ef e n d a nt’s E x hi bit B. T h e

        D ef e n d a nt a p ol o gi z es t o t his H o n or a bl e C o urt f or n ot b ei n g a bl e t o pr o vi d e a n E C F st a m p e d c o p y

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         b ut n o fil e c o p y of t his d o c u m e nt h as e v er b e e n pr o vi d e d or a c k n o wl e d g e d b y t h e C o urt st aff,

         d es pit e s e v er al r e q u ests.

   1 5. S ai d M oti o n w as s e nt b y m ail w hi c h w as r e p ort e d t o b e “l ost ” b y t h e C o urt . A n ot h er c o p y w as

         s e nt b y c ertifi e d si g n at ur e m ail a n d w as r e p ort e d t o b e i n J u d g e W oll m a n n ’s b o x, b y c o urt

         p ers o n n el. D ef e n d a nt n ot es t h at it w as a d dr ess e d t o Distri ct J u d g e Vi k e n , n ot M a gistr at e

         W oll m a n n. S o o n aft er r e c ei vi n g t h at i nf or m ati o n D ef e n d a nt s a w i n P A C E R t h at J u d g e W oll m a n n

         r e c us e d h ers elf as M a gistr at e J u d g e assi g n e d t o D ef e n d a nt’s c as e.

   1 6. T h e D ef e n d a nt c o nt e n ds t h at t h e r e c or d cl e arl y r efl e cts t h at J u d g e W oll m a n n c orr e ctl y r e c us e d

         h ers elf b e c a us e of a ct u al bi as a g ai nst t h e D ef e n d a nt, as w ell as o b vi o us l e g al a n d f a ct u al err ors

         m a d e i n h er offi ci al d uti es as a F e d er al M a gistr at e J u d g e. T h e f a cts r e g ar di n g J u d g e W oll m a n n ’s

         r e c us al a n d t h e r e as o n f or it ar e cl e ar fr o m a r e vi e w of D ef e n d a nt’s E x hi bit B. J u d g e W oll m a n n

         f als el y cl ai m e d t h at D ef e n d a nt mi g ht b e “ a b usi n g t h e pr o c ess ” w h e n it w as t h e v er y C o urt

         a p p oi nt e d c o u ns el a n d t h e Pr os e c ut or t h at w er e a b usi n g t h e pr o c ess, l yi n g t o t h e C o urt a n d f als el y

         m a ki n g li b el o us st at e m e nts a b o ut t h e D ef e n d a nt.

   1 7. D ef e n d a nt ass erts t h at a n i n v esti g ati o n of w h at h as t a k e n pl a c e i n t his c as e w o ul d s h o w i m pr o p er

         c o m m u ni c ati o n b et w e e n t h e C o urt, Pr os e c ut or a n d C o urt a p p oi nt e d D ef e ns e c o u ns el. If tr u e, s u c h

         c o m m u ni c ati o ns vi ol at e d D ef e n d a n t’s ri g hts t o a f air pr o c e e di n g, u nt ai nt e d b y bi as a n d i m pr o p er

         c o m m u ni c ati o n b et w e e n t h e p arti es .

   1 8. Pri or C o urt a p p oi nt e d c o u ns el, J o n at h a n P. M c C o y vi ol at e d his o bli g ati o n t o t est r el e v a nt p h ysi c al

         e vi d e n c e, as d et ail e d i n Mr. Ni x o n’s d e cl ar ati o n . T his w as c o ntr ar y t o pr o mis es Mr. M c C o y m a d e

         t o t h e D ef e n d a nt t h at if t h e D ef e n d a nt l o c at e d a s uit a bl e e x p ert, t h e n h e w o ul d fil e a M oti o n f or

         CJ A f u n ds t o c o n d u ct t h e r e q uir e d t esti n g, w hi c h Mr. M c C o y f ail e d t o d o .

   1 9. T h e n e xt i n eff e cti v e c o u ns el a p p oi nt e d b y t h e C o urt, Mr. Fr a n k Dris c oll wr ot e t o t h e C o urt a n d

         s ai d t h at t h er e w as n o e vi d e n c e t h at r e q uir e d t esti n g, w hi c h w as a dir e ct li e, y et M a gistr at e D uff y

         r e q uir e d D ef e n d a nt t o c o nti n u e wit h Mr. Dris c oll as st a n d b y c o u ns el, ass erti n g t h at Mr. Dris c oll is

         a n e x c ell e nt l a w y er, i n t h e f a c e of t h e cl e ar r e c or d t h at Mr. Dris c oll li e d t o t h e C o urt, d ef a m e d t h e

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        D ef e n d a nt, a n d f ail e d t o fil e a n y s u bst a nti v e M oti o n b esi d es C o nti n u a n c e m oti o ns r e q uir e d b y his

        o w n i n a bilit y t o g et t h e tri al pr e p ar ati o n w or k d o n e.

   2 0. T h e r e c or d cl e arl y d e m o nstr at es i n t his c as e t h at Mr. Dris c oll is n ot a n “ e x c ell e nt ” l a w y er,

        b e c a us e h e m a d e dir e ct misr e pr es e nt ati o ns t o t h e C o urt, a n d f ail e d t o d o t h e j o b h e is e m pl o y e d t o

        d o, w hi c h is pr e p ar e D ef e n d a nt’s c as e f or tri al . E v e n i n t h e f a c e of Mr. Dris c oll’s i n eff e cti v e n ess

        a n d li es, M a gistr at e D uff y c o nti n u e d Mr. Dris c oll as D ef e n d a nt’s st a n d b y c o u ns el, cl e arl y t o

        m a k e t hi n gs as diffi c ult as p ossi bl e f or t h e D ef e n d a nt. F or e x a m pl e, D ef e n d a nt wr ot e t o Mr.

        Dris c oll r e q u esti n g t h at h e c o nt a ct a s p e cifi c in v esti g at or w h o o nl y c o m m u ni c at es wit h c o u ns el

        a n d als o f or hi m t o s u g g est t h e n a m es of ot h er p ot e nti al i n v esti g at ors t h at D ef e n d a nt c o ul d r et ai n,

        wit h t h e p er missi o n of t h e C o urt a n d t h e a v ail a bilit y of CJ A f u n ds, b ut Mr. Dris c oll h as f ail e d t o

        pr o vi d e a n y h el pf ul i nf or m ati o n, e v e n t h o u g h t his s h o ul d b e t h e ki n d of t hi n g c e ntr al t o t h e r ol e of

        st a n d b y c o u ns el.

   2 1. T h e s a m e M a gistr at e or d er e d D ef e n d a nt t o a p p e ar i n p ers o n f or a 2 3 -mi n ut e h e ari n g, k n o wi n g

        t h at D ef e n d a nt is i n di g e nt, a n d h a d t o tr a v el o v er 2 , 5 0 0 mil es r o u n dtri p f or t h e h e ari n g. T h e n,

        d uri n g t h e h e ari n g M a gistr at e D uff y c o nti n u all y c ut D ef e n d a nt off, r ef us e d t o or all y r ul e u p o n

        D ef e n d a nt’s M oti o n f or E C F a c c ess a n d g e n er all y tri e d t o p ers u a d e D ef e n d a nt t o c o nti n u e wit h

        Mr. Dris c oll’s r e pr es e nt ati o n, m e nti o ni n g t h at h e h a d b e e n i n v ol v e d i n h er o w n l a w s c h o ol

        tr ai ni n g i n s o m e w a y a n d h a d m a d e a n i ns pir ati o n al i m p a ct u p o n h er. J u d g e D uff y s h o ul d h a v e

        b e e n a w ar e ( D o c k et N o. 2 1 8) t h at Mr. Dris c oll h as m a d e dir e ct misr e pr es e nt ati o ns t o M a gistr at e

        W oll m a n n i n his f o ur -p a g e l ett er b ut J u d g e D uff y c ut D ef e n d a nt off fr o m s p e a ki n g a n d r ef err e d t o

        t h at as “ all w at er u n d er t h e bri d g e ” w h e n i n f a ct it is a n i m p ort a nt p art of t h e cl e ar r e c or d of bi as

        a g ai nst D ef e n d a nt i n t his c as e a n d c o nti n u es a p att er n of d e ni al of D ef e n d a nt’s ri g ht t o b e h e ar d .

        W h e n D ef e n d a nt c o nti n u e d wit h h er r e q u est t o r e pr es e nt h ers elf M a gistr at e D uff y b e c a m e

        n oti c e a bl y dis pl e as e d .

   2 2. D ef e n d a nt m a d e a CJ A M oti o n f or a tr a ns cri pt of t his h e ari n g, w hi c h M a gistr at e D uff y d e ni e d . It

        is c o n v e ni e nt t h at M a gistr at e D uff y c a n u nil at er all y pr ot e ct h er o w n r e c or d b y pr e v e nti n g

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        D ef e n d a nt’s a c c ess t o t h e c o urt r e c or d of t h e h e ari n g . T h e G o v er n m e nt a n d C o urt ar e n ot u n d er

        t his c o nstr ai nt, b ut t his is us e d b y t h e s yst e m as a n ot h er dis cri mi n at or y m et h o d of k e e pi n g littl e

        p e o pl e, s u c h as m ys elf r e pr ess e d.

   2 3. Mr. Dris c oll h as b e e n c o m pl et el y i n c o m p et e nt i n his r ol e as st a n d b y c o u ns el. D et aili n g all of Mr.

        Dris c oll’s f aili n gs is b e y o n d t h e s c o p e of t his M oti o n, b ut D ef e n d a nt h er e b y dis miss es Mr.

        Dris c oll a n d wis h es t o pr o c e e d wit h o ut st a n d b y c o u ns el, si n c e t his H o n or a bl e C o urt is u n a bl e or

        u n willi n g t o a p p oi nt a n y o n e eff e cti v e t o assist D ef e n d a nt.

   2 4. T h e p att er n of q u esti o n a bl e J u di ci al c o n d u ct i n D ef e n d a nt’s c as e is u nf ort u n at el y n ot li mit e d t o

        M a gistr at e W oll m a n n a n d M a gistr at e D uff y b ut e xt e n ds t o s o m e a cti o ns of t h e Distri ct C o urt

        J u d g es assi g n e d t o D ef e n d a nts c as e .

   2 5. J u d g e Vi k e n w as t h e first Distri ct C o urt J u d g e assi g n e d t o D ef e n d a nt’s c as e a n d h a d t h at r ol e

        fr o m N o v e m b er 2 0 2 0 u ntil J u n e 1 4, 2 0 2 3, w h e n h e iss u e d a n or d er r e assi g ni n g t h e c as e t o Distri ct

        C o urt J u d g e K ar e n E. S c hr ei er. J u d g e Vi k e n’s or d er w as el e v e n w or ki n g d a ys aft er J u d g e

        W oll m a n n’s or d er r e c usi n g h ers elf fr o m t h e c as e .

   2 6. D ef e n d a nt h a d b e e n i nf or m e d b y t h e C o urt t h at J u d g e Vi k e n w as r etiri n g i n O ct o b er 2 0 2 3 a n d his

        r etir e m e nt w as t h er ef or e n ot t h e r e as o n f or his assi g ni n g a n e w Distri ct C o urt J u d g e b e c a us e

        J u d g e Vi k e n h a d alr e a d y s et a tri al s c h e d ul e i n D ef e n d a nt’s c as e wit h a tri al d at e of J u n e 1 6, 2 0 2 3,

        w ell b ef or e J u d g e Vi k e n’s r etir e m e nt d at e .

   2 7. D ef e n d a nt a p p e ar e d i n p ers o n f or a h e ari n g o n D ef e n d a nt’s M oti o n t o Pr o c e e d Pr o S e b ef or e

        M a gistr at e D uff y o n J u n e 5, 2 0 2 3. T h e d a y aft er t h at M oti o n w as gr a nt e d Distri ct J u d g e Vi k e n s et

        a n o b vi o usl y u nr e as o n a bl e tri al s c h e d ul e a n d d at es t h at t h e C o urt k n e w w o ul d b e e xtr e m el y

        b ur d e ns o m e f or t h e D ef e n d a nt t o c o m pl y wit h . T his w as o b vi o usl y arr a n g e d t o cr e at e as m u c h

        diffi c ult y as p ossi bl e si n c e M a gistr at e D uff y r ef us e d t o or all y gr a nt D ef e n d a nt’s M oti o n f or E C F

        pri vil e g es, i nst e a d s a yi n g t h at I w o ul d n e e d t o fil e a M oti o n, e v e n t h o u g h t h e o nl y w a y D ef e n d a nt

        c o ul d fil e a M oti o n w as b y m ail, si n c e st a n d b y c o u ns el r ef us e d t o r e c ei v e e m ail c o m m u ni c ati o ns

        fr o m D ef e n d a nt.

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   2 8. It w as cl e arl y a c o n c ert e d eff ort t o att e m pt t o m a k e s ur e t h at D ef e n d a nt s h o ul d f ail t o n a vi g at e t h e

        E C F s yst e m a n d t h er e b y f ail t o m e et t h e b ur d e ns o m e a n d u nf air tri al c o urt s c h e d ul e i m p os e d b y

        J u d g e Vi k e n w hil e D ef e n d a nt w as still tr a v eli n g b a c k t o Or e g o n .

   2 9. W h e n D ef e n d a nt di d att e m pt t o fil e s u c h a M oti o n f or E C F a c c ess it w as r ej e ct e d b y t h e C o urt

        a n d it w as o nl y wit h t h e h el p of s o m e i n di vi d u al Cl er k’s Offi c e st aff w h o assist e d D ef e n d a nt i n

        t h e E C F r e gistr ati o n pr o c ess.

   3 0. J u d g e Vi k e n’s tri al or d er r e q uir e d a n e wl y pr o s e D ef e n d a nt t o fil e all pr etri al m oti o ns wit hi n si x

        d a ys of M a gistr at e D uff y gr a nti n g D ef e n d a nt’s m oti o n t o pr o c e e d P r o S e, a n d wit h o ut e v e n b ei n g

        gr a nt e d E C F pri vil e g es. J u d g e Vi k e n’s tri al s c h e d ul e w as u nr e as o n a bl e a n d all o w e d n o ti m e t o

        r et ai n a n y e x p erts, c o n d u ct i n v esti g ati o n, c h all e n g e t h e e vi d e n c e, or d o t h e t hi n gs n e c ess ar y f or

        D ef e n d a nt t o pr e p ar e t h e c as e f or tri al. T his w or k s h o ul d h a v e b e e n d o n e b y D ef e n d a nt’s pri or

        C o urt a p p oi nt e d c o u ns el b ut t h e C o urt w as alr e a d y a w ar e t h at t h e y h a d n ot d o n e s o .

   3 1. D ef e n d a nt h a d writt e n t o J u d g e Vi k e n at l e ast t wi c e r e q u esti n g his assist a n c e i n s u p er visi n g t h e

        c o urt pr o c ess a n d m a ki n g s ur e t h at t h e b ull et g et t est e d si n c e D ef e n d a nt’s C o urt a p p oi nt e d

        c o u ns el h a d a bj e ctl y f ail e d t o d o s o. Ulti m at el y, D ef e n d a nt h a d t o fir e h er c o u ns el a n d r e pr es e nt

        h ers elf t o g et t h e r e q u est f or t esti n g a p pr o v e d b y t h e Ei g ht h Cir c uit a n d J u d g e S c hr ei er , s e e:

        D o c k et N o. 2 3 5, D ef e n d a nts M oti o n f or CJ A F u n di n g T o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs

        E x p ert a n d Or d er F or E x p ert A c c ess t o T h e Dis c o v er y a n d E vi d e n c e, i n c orr e ctl y r ef er e n c e d i n

        E C F as a M oti o n f or Mis c ell a n e o us R eli ef.

   3 2. D ef e n d a nt’s M oti o n, D o c k et N o. 2 3 5, i n cl u d es t h e f oll o wi n g l a n g u a g e: “ a n d f or a n Or d er

        dir e cti n g t h e G o v er n m e nt t o pr o vi d e Mr. Ni x o n n e c ess ar y a c c ess t o all dis c o v er y a n d p h ysi c al

        e vi d e n c e. ” T his M oti o n w as a p pr o v e d b y Distri ct C o urt J u d g e K ar e n E. S c hr ei er a n d t h e n b y

        Ei g ht h Cir c uit C hi ef J u d g e L a v e ns ki R. S mit h o n J u n e 2 3, 2 0 2 3 . J u d g e L a v e ns ki a p p e n d e d his

        el e ctr o ni c si g n at ur e t o D ef e n d a nt’s r e q u est a n d t h er ef or e gr a nt e d D o c k et N o. 2 3 5 , w hi c h i n cl u d es

        a n Or d er dir e cti n g t h e G o v er n m e nt t o pr o vi d e a c c ess t o all p h ysi c al e vi d e n c e . S e e D ef e n d a nt ’s



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        E x hi bit D, CJ A Vo u c h er N o. 0 8 6 9. 1 5 7 0 9 8 5 . W h e n t h e C o urt r ef us es t o gr a nt a c c ess t o t h e

        p h ysi c al e vi d e n c e it is a cti n g i n vi ol ati o n of a n Or d er fr o m t h e Ei g ht h Cir c uit C hi ef J u d g e.

   3 3. T h e v er y d a y t h at D ef e n d a nt fil e d D o c k et N o. 2 3 5, J u d g e Vi k e n r e assi g n e d t h e c as e t o Distri ct

        C o urt J u d g e K ar e n E. S c hr ei er, t a citl y a d mitti n g t h at h e w as wr o n g t o i g n or e D ef e n d a nt’s

        r e p e at e d r e q u ests f or t h e assist a n c e of t h e C o urt i n g etti n g t his t esti n g a c c o m plis h e d. D ef e n d a nt

        ass erts t h at t his r e c or d is r e all y o n e of r e c us al f or d e m o nstr at e d bi as r at h er t h a n o n e of

        r e assi g n m e nt b e c a us e of p e n di n g r etir e m e nt, si n c e t h at e x pl a n ati o n is n ot c o nsist e nt wit h t h e

        c o urt r e c or d .

   3 4. J u d g e K ar e n E. S c hr ei er w as a p p oi nt e d as Distri ct C o urt J u d g e o n J u n e 1 4, 2 0 2 3, b y J u d g e Vi k e n,

        b y t e xt or d er, as dis c uss e d a b o v e . O n J u n e 1 5, t h e v er y s a m e d a y t h at D ef e n d a nt fil e d h er M oti o n,

        D o c k et N o. 2 3 5, J u d g e S c hr ei er gr a nt e d D ef e n d a nts M oti o n a n d i n di c at e d t h at it w o ul d n e e d t o

        b e s e nt t o t h e Ei g ht h Cir c uit wit h a d dit i o n al i nf or m ati o n, w hi c h w as d o n e t h at s a m e d a y b y

        D ef e n d a nt . It is q uit e a p p ar e nt fr o m t his r e c or d t h at it w as a m att er of ur g e n c y t h at t h e C o urt

        r e vi e w a n d d e ci d e D ef e n d a nt’s D o c k et N o. 2 3 5 M oti o n si n c e J u d g e S c hr ei er i m m e di at el y gr a nt e d

        a M oti o n i n a c a s e t h at s h e c o ul d n ot h a v e b e e n f a mili ar wit h . T his s u g g ests t h at t h er e m ust h a v e

        b e e n s o m e ki n d of J u di ci al c o nf er e n c e a b o ut D ef e n d a nt’s c as e .

   3 5. J u d g e S c hri er gr a nt e d D ef e n d a nt's m oti o n f or a C o nti n u a n c e, D o c k et N o. 2 3 7 i n h er or d er D o c k et

        N o. 2 3 9 . D ef e n d a nt als o fil e d a M oti o n t o Dis miss, D o c k et N o. 2 3 8 a n d a M oti o n t o C o m p el,

        D o c k et N o. 2 4 3, fil e d o n J u n e 2 7, 2 0 2 3 . T his M oti o n i n cl u d e d a c o m p aris o n b et w e e n t h e w a y

        D ef e n d a nt h as b e e n i m pr o p erl y tr e at e d a n d c o m p aris o n t o t h e cl e ar pr ef er e nti al tr e at m e nt

        pr o vi d e d b y t h e D e p art m e nt of J usti c e a n d t h e C o urt S yst e m t o H u nt er Bi d e n, pr es u m a bl y

        b e c a us e h e is t h e s o n of t h e Pr esi d e nt .

   3 6. T h e d a y aft er t his fili n g, o n J u n e 2 8, 2 0 2 3, b y t e xt or d er, J u d g e S c hr ei er r e assi g n e d t h e c as e t o

        Distri ct C o urt J u d g e L a wr e n c e L. Pi ers ol . J u d g e Pi ers ol e nt er e d his tri al s c h e d ul e Or d er o n J ul y

        1 1, 2 0 2 3, or d eri n g t h at t h e tri al t a k e pl a c e i n D e a d w o o d, S o ut h D a k ot a .



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   3 7. T h e Distri ct C o urt w e bsit e f or t h e F e d er al C o urt i n di c at es t h e f oll o wi n g i n r el ati o n t o t h e

        assi g n m e nt of J u d g es ( b ol di n g a d d e d):

                    “J u d g e assi g n m e nt m et h o ds v ar y. T h e b asi c c o nsi d er ati o ns i n m a ki n g assi g n m e nts ar e t o

                    ass ur e e q uit a bl e distri b uti o n of c as el o a d a n d a v oi d j u d g e s h o p pi n g . B y st at ut e, t h e c hi ef

                    j u d g e of e a c h distri ct c o urt h as t h e r es p o nsi bilit y t o e nf or c e t h e c o urt's r ul es a n d or d ers

                    o n c as e assi g n m e nts. E a c h c o urt h as a writt e n pl a n or s yst e m f or assi g ni n g c as es. T h e

                    m aj orit y of c o urts us e s o m e v ari ati o n of a r a n d o m dr a wi n g. O n e si m pl e m et h o d is t o

                    r ot at e t h e n a m es of a v ail a bl e j u d g es. At ti m es j u dg es h a vi n g s p e ci al e x p ertis e c a n b e

                    assi g n e d c as es b y t y p e, s u c h as c o m pl e x cri mi n al c as es, as b est os -r el at e d c as es, or

                    pris o n er c as es. T h e b e n efit of t his s yst e m is t h at it t a k es a d v a nt a g e of t h e e x p ertis e

                    d e v el o p e d b y j u d g es i n c ert ai n ar e as. S o m eti m es c a s es m a y b e assi g n e d b as e d o n

                    g e o gr a p hi c al c o nsi d er ati o ns. F or e x a m pl e, i n a l ar g e g e o gr a p hi c al ar e a it m a y b e b est t o

                    assi g n a c as e t o a j u d g e l o c at e d at t h e sit e w h er e t h e c as e w as fil e d. C o urts als o h a v e a

                    s yst e m t o c h e c k if t h er e is a n y c o nfli ct t h at w o ul d m a k e it i m pr o p er f or a j u d g e t o

                    pr esi d e o v er a p arti c ul ar c as e. ”

   3 8. C o ntr ar y t o t his i nf or m ati o n a n d g o o d j u di ci al pr a cti c e t h e J u di ci al assi g n m e nts i n D ef e n d a nt’s

        c as e h a v e n ot o c c urr e d i n a r a n d o m m a n n er, h a v e b e e n o d dl y ti m e d i n r el ati o n t o D ef e n d a nt’s

        M oti o ns a n d d o n ot a p p e ar t o h a v e b e e n m a d e t o a v oi d “J u d g e S h o p pi n g ” or t o a v oi d “ a n y

        c o nfli ct t h at w o ul d m a k e it i m pr o p er f or a J u d g e t o pr esi d e o v er a p arti c ul ar c as e. ”

   3 9. F or e x a m pl e, t h e D ef e n d a nt, i n D o c k et N o. 2 4 3, w hi c h is still p e n di n g b ef or e t his C o urt b as e d

        u p o n D ef e n d a nt’s ar g u m e nts pr es e nt e d a b o v e, m a k es a v er y cl e ar c o m p aris o n b et w e e n t h e

        D ef e n d a nt’s c as e a n d t h e f a v or a bl e tr e at m e nt aff or d e d t h e c urr e nt D e m o cr ati c Pr esi d e nt’s s o n,

        H u nt er Bi d e n. It is c o m pl et el y i n a p pr o pri at e t o i m m e di at el y assi g n D ef e n d a nt’s c as e t o J u d g e

        Pi ers ol, w h o is d es cri b e d o n his Wi ki p e di a p a g e as a : “m e m b er of t h e D e m o cr ati c P art y, h e s er v e d

        i n t h e S o ut h D a k ot a H o us e of R e pr es e nt ati v es, s er vi n g as Mi n orit y W hi p ( 1 9 7 1 t o 1 9 7 2) a n d

                                                                P a g e 1 0 of 1 9
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        M aj orit y L e a d er ( 1 9 7 3 t o 1 9 7 4) . ” J u d g e Pi ers ol is a f or m er s e ni or D e m o cr ati c p art y offi ci al a n d

        s h o ul d n ot h a v e b e e n a p p oi nt e d t o D ef e n d a nt’s c as e si n c e t o d o s o vi ol at e d t h e C o urt’s o w n

        p u blis h e d c o nfli ct r ul e .

   4 0. I n a d diti o n, J u d g e Pi ers ol, i n his tri al or d er assi g n e d t h e C as e f or tri al i n D e a d w o o d . A c c or di n g t o

        t h e C o urt’s o w n w e bsit e t h er e is n o r e g ul ar F e d er al C o urt i n D e a d w o o d a n d J u d g e Pi ers ol’s

        r e as o ni n g f or s c h e d uli n g t h e tri al t h er e, wit h o ut first dis c ussi n g it wit h t h e p arti es, a p p e ars t o als o

        vi ol at e t h e C o urt’s r ul es . D ef e n d a nt i s e ntitl e d t o a j ur y of h er p e ers, a c c or di n g t o t h e U. S.

        C o nstit uti o n, y et J u d g e Pi ers ol i m m e di at el y s c h e d ul e d t h e tri al t o t a k e pl a c e i n t h e m ost r a cist a n d

        n o n -n ati v e A m eri c a n ar e a of S o ut h D a k ot a, i n cl e ar c o ntr a v e nti o n of D ef e n d a nt’s i nt er ests.

   4 1. J u d g e Pi ers ol s h o ul d i m m e di at el y r e c us e hi ms elf fr o m t his c as e f or a ct u al bi as , c o nfli ct of

        i nt er est, a n d f or f aili n g t o f oll o w t h e C o urt’s o w n r ul es f or assi g n m e nt of Distri ct C o urt J u d g es .

   P R O S E C U T O RI A L MI S C O N D U C T

   4 2. As dis c uss e d i n p ar a gr a p hs 2 -4 a b o v e t h e G o v er n m e nt pr o vi d e d a d et ail e d R es p o ns e t o

        D ef e n d a nt’s M oti o n t o C o m p el . I n t h at d o c u m e nt t h e G o v er n m e nt f als el y ass ert e d t h at it h as n o

        b ull et a n d n o p h ysi c al e vi d e n c e .

   4 3. Att a c h e d t o t his M oti o n as D ef e n d a nt’s E x hi bit C is t h e s w or n st at e m e nt of J o h n Ni x o n, def e ns e

        e x p ert a n d B o ar d- C ertifi e d F or e nsi c E n gi n e eri n g S ci e ntist . Mr. Ni x o n r e c o u nts h o w h e w as

        c o nt a ct e d b y J o n at h a n P M c C o y, f or m er C o urt a p p oi nt e d c o u ns el t o t h e D ef e n d a nt a b o ut

        “ p ossi bl e e x a mi n ati o n of a b ull et ( pr oj e cti le) r e c o v er e d d uri n g t h e i n v esti g ati o n of t h e a b o v e

        c a pti o n e d m att er ” ( Ni x o n p ar a gr a p h 4) .

   4 4. O n O ct o b er 2 5, 2 0 2 1, Mr. M c C o y s e nt Mr. Ni x o n t w o p h ot o gr a p hs d e pi cti n g a b ull et ( pr oj e ctil e)

        t h at w as dis c o v er e d i n t h e all e g e d vi cti m’s v e hi cl e . Mr. Ni x o n i d e ntifi es t h es e p h ot o gr a p hs as

        D ull K nif e et al 0 2 8 1 a n d D ull K nif e et al 0 2 8 2 wit h t h e f oll o wi n g c a pti o ns D S C 0 1 4 8 a n d D S C

        0 1 4 9 (s e e Ni x o n p ar a gr a p h 5). T h es e p h ot o gr a p hs ar e t h e s a m e as t h e o n es D ef e n d a nt p ers o n all y

        s a w d uri n g s u p er vis e d dis c o v er y r e vi e w at t h e F e d er al P u bli c D ef e n d er’s Offi c e i n P ortl a n d a n d

        ar e att a c h e d t o Mr. Ni x o n’s u n d er o at h d e cl ar ati o n.

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   4 5. Mr. Ni x o n i n di c at es t h at h e t ol d Mr. M c C o y: “t h at t h e b ull et i n t h e p h ot o gr a p h a p p e ar e d t o b e a

        pist ol b ull et, n ot a rifl e b ull et. ” Mr. Ni x o n als o “i nf or m e d Mr. M c C o y t h at it w o ul d b e p ossi bl e t o

        disti n g uis h a pist ol b ull et fr o m a rifl e b ull et b y m e a ns of a p ers o n al p h ysi c al e x a mi n ati o n. ” Mr.

        Ni x o n als o o pi n e d t h at h e w o ul d pr o b a bl y b e a bl e t o pr o vi d e a s h ort list of br a n ds a n d m o d els of

        fir e ar ms t h at c o ul d h a v e fir e d t h e b ull et. T his t esti n g w as cr u ci al f or t h e D ef e n d a nt b e c a us e t h e

        G o v er n m e nt’s w h ol e c as e w as b uilt u p o n t h e s u p p os e d e vi d e n c e t h at a n A R 1 5 rifl e fir e d t h e

        b ull et. If t h at i nf or m ati o n is a d eli b er at e li e, pr es e nt e d t o t h e C o urt t o o bt ai n f als e w arr a nts t o

        S e ar c h a n d t h e n Arr est t h e n t h at is a s eri o us    Mis c arri a g e of Justi c e.

   4 6. F or r e as o ns t h at ar e u n cl e ar b ut ar e als o e xtr e m el y tr o u bli n g Mr. M c C o y r ef us e d t o fil e a M oti o n

        f or CJ A f u n di n g f or t esti n g of t h e b ull et a n d p oi nt -bl a n k r ef us e d D ef e n d a nt’s r e p e at e d r e q u ests t o

        g et t h e e vi d e n c e t est e d. E v e nt u all y t h e D ef e n d a nt s u c c e e d e d i n g etti n g Mr. M c C o y r e m o v e d fr o m

        h er c as e, o nl y t o h a v e hi m r e pl a c e d b y a n ot h er i n eff e cti v e c o u ns el, Mr. Fr a n k Dris c oll, w h o is

        D ef e n d a nt’s c urr e nt st a n d b y c o u ns el , a p p oi nt e d t o t h at r ol e b y M a gistr at e D uff y, o v er

        D ef e n d a nt’s c o nti n ui n g o bj e cti o n .

   4 7. T h e s w or n i nf or m ati o n pr o vi d e d b y Mr. Ni x o n d e m o nstr at es t h at t h e G o v er n m e nt s h o ul d h a v e

        b e e n a w ar e as s o o n as it w as r e c o v er e d t h at t h e b ull et c o ul d n ot h a v e c o m e fr o m an A R 1 5 rifl e

        si n c e t h at is o b vi o us fr o m a vis u al e x a mi n ati o n, y et t h e y pr es e nt e d f als e i nf or m ati o n t o t h e C o urt

        t o o bt ai n a s e ar c h w arr a nt a n d arr est w arr a nt s.

   4 8. M y e xt e nsi v e n ot es fr o m dis c o v er y r e vi e w i n di c at e t hat t h e offi c ers w h o r e c o v er e d t h e b ull et

        wr ot e t h at t h e b ull et a p p e ar e d t o b e bl o o dst ai n e d, i n di c ati n g it w as t h e b ull et t h at str u c k Ms.

        B ur g e e c a usi n g t h e i nj ur y at iss u e i n t his c as e , p arti c ul arl y si n c e it w as l o c at e d dir e ctl y i n fr o nt of

        Ms. B ur g e e’s l oc ati o n i n t h e v e hi cl e o n a bl o o dst ai n e d fl o or m at ( S e e Ni x o n D e cl ar ati o n a n d

        p h ot os ). F or t h e G o v er n m e nt t o li e t o t h e C o urt a n d pr et e n d t h at t his e vi d e n c e d o es n ot e xist, a n d

        is n ot i m p ort a nt, is t h e m ost o utr a g e o us li e, p arti c ul arl y gi v e n t h at t h e pr eli min ar y i nf or m ati o n

        pr o vi d e d b y Mr. Ni x o n is t h at his o pi ni o n is e x c ul p at or y a n d c ert ai nl y e xtr e m el y h el pf ul t o t h e



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        D ef e n d a nt . A U S A S a z a m a s h o ul d b e h el d i n c o nt e m pt of c o urt f or d eli b er at el y l yi n g a b o ut t h e

        e xist e n c e of t his p h ysi c al e vi d e n c e .

   4 9. T h e f or e nsi c t esti n g of t h e b ull et is of p ar a m o u nt i m p ort a n c e t o t h e D ef e ns e f or s e v er al r e as o ns,

        n ot s ol el y b e c a us e t h e A R 1 5 rifl e li e s u p p ort e d t h e w arr a nts at iss u e i n t his c as e. S e v er al ot h er

        p oli c e r e p orts dis c uss t h e si g nifi c a n c e of a n A R 1 5 w e a p o n a n d all e g e d t h at D ef e n d a nts f or m er c o -

        d ef e n d a nt w as s e e n wit h a n A R 1 5 w e a p o n. T h er e is als o a n a u di o r e c or d e d st at e m e nt i n dis c o v er y

        fr o m I a n D ull K nif e, a j ail h o us e i nf or m a nt, w h o f als el y t ol d f or m er CI P u c k ett t h at h e s a w

        G e or g e D ull K nif e s h o ot r e p e at e dl y at t h e all e g e d vi cti ms wit h a n A R 1 5 rifl e a n d t h e n s a w

        G e or g e D ull K nif e h a n d t h e rifl e t o t h e D ef e n d a nt . T his st at e m e nt is f a ls e, pr es u m a bl y m a d e i n

        e x c h a n g e f or I a n D ull K nif e’s r el e as e fr o m j ail. If t h e bl o o dst ai n e d b ull et di d n ot c o m e fr o m a n

        A R 1 5 rifl e it pr o v es t h at I a n D ull K nif e is l yi n g a n d t h e w h ol e c as e a g ai nst D ef e n d a nt is b uilt

        u p o n a k n o w n f a bri c ati o n.

   5 0. A U S A S a z a m a pr es e nts t h e p ositi o n t h at t h e U nit e d St at es dis c o v er y o bli g ati o n is c o n cl u d e d, as if

        t h e G o v er n m e nt d o es n ot h a v e a c o nti n ui n g dis c o v er y o bli g ati o n, j ust li k e it h as a c o nti n ui n g

        o bli g ati o n t o pr o vi d e Br a d y a n d Gi gli o e vi d e n c e. T h e D u e Pr o c ess Pr ot e cti o ns A ct pr o vi d es t h at

        t h e G o v er n m e nt is r e q uir e d t o pr o vi d e ti m el y dis cl os ur e of Br a d y i nf or m ati o n, y et at n e arl y t hr e e

        y e ars i nt o t his c as e t h e D ef e n d a nt h as r e c ei v e d n ot hi n g, a n d t h e G o v er n m e nt’s p ositi o n is t h at it

        will pr o vi d e n ot hi n g a n d d o es n ot n e e d t o l o o k f or a n yt hi n g. I n d e e d, t h e G o v er n m e nt’s Br a d y a n d

        Gi gli o o bli g ati o ns ar e si g nifi c a nt .

   5 1. D ef e n d a nt h as pr o vi d e d pri m a f a ci e e vi d e n c e t h at f or m er O S T P S CI P u c k ett is n o l o n g er a p oli c e

        offi c er si n c e h e c urr e ntl y fi nis h e d tr ai ni n g t o b e c o m e a s c h o ol s e c urit y g u ar d. T h e G o v er n m e nt

        h as n ot r es p o n d e d t o D ef e n d a nt’s e x hi bit e vi d e n c e ( L a w E nf or c e m e nt S c h o ol S e nti n el Tr ai ni n g

        C ertifi c at e f or f or m er CI P u c k ett) t h at f or m er O S T P S CI P u c k ett is n o l o n g er a n offi c er, s o t h e

        G o v er n m e nt h as w ai v e d a n y ar g u m e nt i n t h at r e g ar d . T h e G o v er n m e nt’s w ai v er est a blis h es t h at

        t h er e is Br a d y, Gi gli o a n d H e nt h or n m at eri al r el ati n g t o P u c k ett .



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   5 2. T h e G o v er n m e nt c a n n ot a v oi d k n o wi n g or l o o ki n g f or s u c h e vi d e n c e b y pr et e n di n g it d o es n ot

        e xist. In r el ati o n t o P u c k ett , t h e G o v er n m e nt’s w ai v er of ar g u m e nt r e q uir es t h at t h e C o urt a c c e pt

        t h at t his is f a ct u all y tr u e a n d r e q uir es t h at t h e C o urt or d er ti m el y pr o d u cti o n of Br a d y, Gi gli o a n d

        H e nt h or n m at eri al r el ati n g t o P u c k ett. Gi v e n A U S A S a z a m a’s dir e ct misr e pr es e nt ati o ns t o t h e

        C o urt a b o ut t h e e vi d e n c e s h e s h o ul d b e r e q uir e d t o m a k e t h es e dis cl os ur es u n d er o at h u n d er

        p e n alt y of c o nt e m pt or ot h er s a n cti o n.

   5 3. W h y w o ul d a l o n g s er vi n g p oli c e offi c er i n t h e pri m e of his c ar e er, h a vi n g j ust b e e n pr o m ot e d t o

        t h e p ositi o n of cri mi n al i n v esti g at or b e c o m e a s c h o ol s e c urit y g u ar d, w hi c h is h ar dl y a c ar e er

        a d v a n c e m e nt ? T h e i nf or m ati o n fr o m P u c k ett’s s c h o ol s e c urit y g u ar d c ertifi c at e is c o nsist e nt wit h

        t h e e vi d e n c e alr e a d y pr o vi d e d b y D ef e n d a nt fr o m a c o nfi d e nti al s o ur c e t h at P u c k ett w as

        s us p e n d e d f or mis c o n d u ct a n d l eft t h e f or c e. T his C o urt c a n n ot r el y u p o n ass erti o ns m a d e b y

        A U S A S a z a m a or h er sil e n c e a b o ut P u c k ett, si n c e t h e e vi d e n c e est a blis h es t h at s h e dir e ctl y li e d

        a b o ut t h e e xist e n c e of t h e b ull et at iss u e i n t his c as e . Ms. S a z a m a m ust b e or d er e d t o c o m pl y wit h

        h er o bli g ati o ns, u p o n p ai n of a C o nt e m pt s a n cti o n.

   5 4. A U S A S a z a m a i n di c at es at p a g e 5 a n d 6 t h at t h e G o v er n m e nt is u n a w ar e w h et h er I a n D ull K nif e

        h as pr off er e d or a ct e d as a c o nfi d e nti al i nf or m a nt i n a n y c as e wit h t h e U nit e d St at es . T his

        st at e m e nt is f als e o n its f a c e a n d misl e a di n g, si n c e it is a p p ar e nt t h at Mr. I a n D ull K nif e a ct e d as a

        cl assi c j ail h o us e i nf or m a nt i n t his c as e. If I a n D ull K nif e o bt ai n e d a n y b e n efit i n e x c h a n g e f or his

        i nf or m ati o n, s u c h as r el e as e fr o m j ail, or p a y m e nt, or h as r e c ei v e d s u c h b e n efits i n a n y ot h er c as e,

        t h e n it is t h e G o v er n m e nt’s res p o nsi bilit y t o b e c o m e a w ar e of t his i nf or m ati o n a n d dis cl os e it t o

        t h e D ef e n d a nt i n a “ti m el y m a n n er ” i n a c c or d a n c e wit h t h e D u e Pr o c ess Pr ot e cti o ns A ct, a st at ut e

        t h at w as e n a ct e d i n or d er t o r e m e d y r e p e at e d vi ol ati o ns of Br a d y a n d its pr o g e n y b y t h e

        G o v er n m e nt.

   5 5. T h e D ef e n d a nt a p p e ar e d b y vi d e o at t h e M oti o n t o S u p pr ess h e ari n g w h er e t h e n offi c er P u c k ett

        t estifi e d. D ef e n d a nt w as i n c o m m u ni c ati o n wit h h er t h e n c o u ns el, J o n at h a n P. M c C o y, b y p h o n e.

        D uri n g t h e h e ari n g Mr. M c C o y i nf or m e d D ef e n d a nt t h at P u c k et t a p p e ar e d t o h a v e a n att or n e y

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        wit h hi m. A U S A S a z a m a w as n ot pr es e nt at t h e h e ari n g, s o h as n o p ers o n al k n o wl e d g e of t h e

        iss u e o n e w a y or a n ot h er. T h e a p pr o pri at e r e m e d y f or f a ct u al dis p ut es of t his s ort is f or t h e C o urt

        t o all o w t h e iss u a n c e of s u b p o e n as a n d h a v e t h e p arti ci p a nts m a k e st at e m e nts u n d er o at h a b o ut

        t h e pr es e n c e of a n att or n e y f or Mr. P u c k ett or n ot. D ef e n d a nt is p erf e ctl y willi n g t o m a k e s u c h a n

        u n d er -o at h st at e m e nt. S u c h st at e m e nts or d e cl ar ati o ns c a n b e o bt ai n e d fr o m J u d g e W oll m a n n, Mr.

        P att ers o n, Mr. M c C o y, Mr. P u c k ett , a n d C o urt st aff w h o w er e pr es e nt i n t h e C o urtr o o m. It is

        li k el y t h at s o m e o n e pr o b a bl y r e c o g ni z e d t h e att or n e y i n q u esti o n a n d t his f a ct u al q u esti o n c a n b e

        s ettl e d.

   5 6. O b vi o usl y, t h e U. S. M ars h al’s s er vi c e e ns ur es s e c ur e a c c ess t o all f e d er al c o urt h o us es, s o t h er e

        w o ul d p ot e nti all y b e vi d e o e vi d e n c e of t h os e e nt eri n g t h e c o urt h o us e t o att e n d t h e h e ari n g as w ell

        as vi d e o s e c urit y s ur v eill a n c e of t h e h e ari n g its elf . I n a d diti o n, s o m e f e d er al f a ciliti es m ai nt ai n a

        visit or l o g , w hi c h c a n b e s u b p o e n a e d , if a p pli c a bl e.

   5 7. It is als o q uit e c o nsist e nt wit h t h e e vi d e n c e D ef e n d a nt h as alr ea d y s u b mitt e d ( P u c k ett’s s c h o ol

        s e c urit y g u ar d c ertifi c ati o n), u n c o ntr o v ert e d b y t h e G o v er n m e nt, t h at h e is n o l o n g er a p oli c e

        offi c er a n d o b vi o usl y s u bj e ct t o s cr uti n y b y t h e ti m e of t h e S u p pr essi o n h e ari n g . If P u c k ett w as

        still a p oli c e offi c er it w o ul d b e v er y e as y f or t h e G o v er n m e nt t o s a y t h at, b ut it r e m ai ns sil e nt, or

        c o nti n u es t o li e a b o ut his tr u e st at us.

   5 8. At G o v er n m e nt’s R es p o ns e p ar a gr a p h 2 t h e G o v er n m e nt a p p e ars t o mis u n d erst a n d its Br a d y a n d

        Gi gli o o bli g ati o n . T h e G o v er n m e nt h as a n affir m ati v e o bli g ati o n t o l o c at e s u c h i nf or m ati o n,

        p arti c ul arl y w h e n t h e D ef e n d a nt h as m a d e a n u n c o ntr o v ert e d pri m a f a ci e c as e t h at s u c h e vi d e n c e

        e xists . T h e G o v er n m e nt m a k es t h e f oll o wi n g a bs ur d st at e m e nt r e g ar di n g P u c k ett: “ T h e U nit e d

        St at es dis p ut es t h e all e g ati o ns m a d e a b o ut I n v esti g at or P u c k ett i n P ar a gr a p h 1 8 a n d 1 9, ” b ut

        m yst eri o usl y r e m ai ns sil e nt a b o ut w h at is i n dis p ut e. D ef e n d a nt pr o vi d e d a c ertifi c at e fr o m

        P u c k ett’s p ers o n al F a c e b o o k a c c o u nt s h o wi n g h e fi nis h e d tr ai ni n g t o b e c o m e a s c h o ol s e c urit y

        g u ar d, s o t h er e is n ot r e all y a n yt hi n g t o dis p ut e. D ef e n d a nt is p erf e ctl y willi n g t o p ut t his



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        st at e m e nt u n d er o at h or t est it at a n e vi d e nti ar y h e ari n g w h er e P u c k ett is c all e d as a wit n ess t o

        t estif y a b o ut his st at us.

   5 9. D ef e n d a nt a gr e es t h at m a n y p oi ntl ess u n vi e w a bl e c o pi es of Is ai a h Cr o w’s b o d y c a m a n d d as h c a m

        f o ot a g e w er e pr e vi o usl y pr o vi d e d t o D ef e n d a nt i n s u p er vis e d dis c o v er y, as w ell. T h e p oi nt h er e is

        t h at D ef e n d a nt h as n ot b e e n a bl e t o vi e w t h e f o ot a g e b e c a us e of a t e c h ni c al iss u e. T h e

        G o v er n m e nt h as a c o nti n ui n g o bli g ati o n t o pr o vi d e s u c h dis c o v er y t o D ef e n d a nt i n a f or m at t h at

        is vi e w a bl e.

   6 0. D ef e n d a nt h as n ot b e e n pr o vi d e d wit h t h e s a m e dis c o v er y i nf or m ati o n as h er f or m er c o -d ef e n d a nt

        – t his is a n ot h er dir e ct li e. If t h at is t h e c as e t h e n it will b e e as y f or t h e G o ver n m e nt t o pr o vi d e

        a n ot h er c o m pl et e c o p y f or r e vi e w, si n c e t h e G o v er n m e nt’s o bli g ati o n is a c o nti n ui n g o n e . Gi v e n

        A U S A’s r e p e at e d misr e pr es e nt ati o ns t o t h e C o urt r e g ar di n g t his c as e s h e s h o ul d b e r e q uir e d t o

        m a k e a n u n d er -o at h d e cl ar ati o n r e g ar di n g e a c h a n d e v er y dis p ut e d dis c o v er y iss u e.

   6 1. T h e G o v er n m e nt i n di c at es t h at it will “ m a k e a v ail a bl e t o t h e d ef e n d a nt t h e tr a ns cri pt of h er

        c o d ef e n d a nt’s c h a n g e of pl e a h e ari n g. ” At t h e ti m e of writi n g t his pl e a di n g t his tr a ns cri pt h as n ot

        b e e n pr o vi d e d. T h e G o v er n m e n t ass erts t h at it h as n o ot h er st at e m e nts fr o m G e or g e D ull K nif e

        b ut gi v e n A U S A S a z a m a’s ot h er misr e pr es e nt ati o ns t o t h e C o urt it is n ot r e as o n a bl e t o e x p e ct

        D ef e n d a nt t o tr ust t his st at e m e nt u nl ess it is m a d e u n d er o at h.

   6 2. As p art of A U S A’s f als e st at e m e nts a b o ut t h e e vi d e n c e i n t his c as e s h e m e nti o ns t h e “ m a n y “s p e nt

        b ull ets ” ” b ut f ails t o m e nti o n t h at t h er e w as o nl y o n e r el e v a nt b ull et r e c o v er e d fr o m t h e s c e n e,

        w hi c h w as t h e bl o o dst ai n e d s p e nt b ull et ( S e e Ni x o n D e cl ar ati o n, D ef e n d a nt’s E x hi bit C ). All

        ot h e r b ull ets w er e eit h er u nfir e d a n d l o c at e d i n t h e h o us e, or o b vi o usl y ol d a n d c o m pl et el y

        irr el e v a nt t o t h e c as e. A n y c urs or y r e vi e w of t h e dis c o v er y m a k es t his o b vi o us. T h er e w as a n

        e xt e nsi v e s e ar c h of t h e dri v e w a y f or s h ell c asi n gs fr o m t h e “ A R 1 5 ”, w hi c h l o c at e d e x a ctl y

        n ot hi n g.

   6 3. T h e G o v er n m e nt is alr e a d y a w ar e t h at I a n D ull K nif e is a j ail h o us e i nf or m a nt i n t his c as e. T h e

        c urr e nt iss u e is w h et h er h e w as pr o vi d e d a b e n efit, s u c h as i m m e di at e r el e as e fr o m j ail t o r e w ar d

                                                                P a g e 1 6 of 1 9
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        hi m f or his f als e st at e m e nt . T h e G o v er n m e nt c a n e asil y as c ert ai n t his fr o m r e vi e wi n g j ail r e c or ds

        r el ati n g t o his c h ar g es a n d w h at d at e a n d ti m e h e w as r el e as e d fr o m j ail o n t h os e c h ar g es a n d

        w h et h er t h e y w er e dr o p p e d, a n d w h et h er t h at w as as a b e n efit f or his f als e t esti m o n y t o f or m er CI

        P u c k ett. T h er e ar e o b vi o usl y ot h er si g nifi c a nt r e c or ds a b o ut I a n D ull K nif e a n d ot h ers i n v ol v e d i n

        t his c as e t h at s h o ul d h a v e b e e n dis cl os e d b y t h e G o v er n m e nt. T his cri mi n al hist or y i nf or m ati o n

        s h o ul d alr e a d y h a v e b e e n pr o vi d e d t o t h e D ef e n d a nt as p art of R ul e 1 6 dis c o v er y a n d als o as

        Br a d y i nf or m ati o n. T his s h o ul d i n cl u d e all p oli c e r e p orts.

   6 4. It is n ot s uffi ci e nt f or t h e G o v er n m e nt t o pr o vi d e “ cri mi n al hist or y r e p orts ” o n O ct o b er 1 3, 2 0 2 3,

        si n c e t his is n ot ti m el y a n d all o ws t h e D ef e n d a nt n o ti m e b ef or e tr i al t o r e vi e w s u c h d o c u m e nts or

        o b t ai n ot h er r el e v a nt i nf or m ati o n t h at ma y b e r ef er e n c e d . T h e D u e Pr o c ess Pr ot e cti o ns A ct

        r e q uir es TI M E L Y dis cl os ur e of e x c ul p at or y i nf or m ati o n, a n d t his is cl e arl y n ot ti m el y or

        s uffi ci e nt, si n c e it e x cl u d es a ct u al p oli c e r e p orts t h at ar e p ot e nti all y e x c ul p at or y. T h es e r e p orts

        b e ar o n t h e cr e di bilit y of G o v er n m e nt wit n ess es a n d ar e c or e Br a d y i nf or m ati o n s o s h o ul d h a v e

        b e e n dis cl os e d alr e a d y .

   6 5. As o n e e x a m pl e, w hi c h is c ert ai nl y n ot e x h a usti v e, gi v e n t h e m ultit u d e of cri mi n al c as es

        i n v ol vi n g r e gist er e d s e x off e n d er K. T. B ur g e e, t h e D ef e n d a nt h as b e c o m e a w ar e t h at Mr. B ur g e e

        h as b e e n f e d er all y c h ar g e d i n y et a n ot h er f e d er al cri mi n al c as e, U nit e d St at es v. B ur g e e

        3: 2 2 C R 3 0 0 6 9 wit h a vi ol ati o n of 1 8 U S C § § 1 1 5 3, 2 2 4 1( a)( 1) a n d 2 2 4 6( 2) A g gr a v at e d S e x u al

        A b us e b y F or c e. It a p p e ars t h at t h e G o v er n m e nt d o es e v er yt hi n g i n its p o w er t o h el p a r e p e at

        r a pist a n d s e x off e n d er a n d k e e p s t his i nf or m ati o n pri v at e e v e n t h o u g h it is cl e arl y r el e v a nt,

        cl e arl y e x c ul p at or y, a n d i m p e a c h es Mr. B ur g e e, a G o v er n m e nt wit n ess . T h e D ef e n d a nt ass u m es

        t h at t h e G o v er n m e nt b eli e v e d it w o uld b e a bl e t o hi d e t his n e w e xtr e m el y s eri o us c h ar g e a g ai nst

        o n e of its wit n ess es fr o m t h e D ef e n d a nt.

   R E M E DI E S

   6 6. Alt h o u g h t his M oti o n is titl e d a M oti o n t o C o m p el it als o r ais es c o nsi d er a bl e iss u es of J u di ci al

        Mis c o n d u ct, Pr os e c ut ori al Mis c o n d u ct, D u e Pr o c es s a n d E q u al Pr ot e cti o n vi ol ati o ns. M a gistr at e

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        D uff y s h o ul d r e c us e h ers elf fr o m a n y f urt h er p art i n m y c as e f or t h e r e as o ns e x pr ess e d i n t his

        M oti o n, f or cl e ar bi as a n d f or r e p e at e d err ors a n d a cti n g o utsi d e of h er a ut h orit y.

   6 7. Distri ct C o urt J u d g e Pi ers ol s h o ul d r e c us e hi ms elf fr o m a n y f urt h er pr o c e e di n gs i n r el ati o n t o m y

        c as e b e c a us e h e w as a p p oi nt e d i n vi ol ati o n of t h e C o urt’s p u blis h e d c o nfli ct r ul es, h as a cl e ar bi as

        as a f or m er offi ci al of t h e D e m o cr ati c p art y a n d u nil at er all y s et t h e c as e f or tri al i n a j uris di cti o n

        a w a y fr o m t h e a p pr o pri at e j uris di cti o n f or tri al wit h o ut c o ns ulti n g t h e p arti es a n d i n vi ol ati o n of

        t h e D ef e n d a nt’s ri g ht t o a j ur y of h er p e ers.

   6 8. T h e C o urt s h o ul d f as hi o n a n a p pr o pri at e r e m e d y f or t h e cl e ar f als e st at e m e nts m a d e b y A U S A

        S a z a m a a n d i n p arti c ul ar t h at t h er e is n ot a si n gl e b ull et at iss u e i n m y c as e . T his A U S A h as

        r e p e at e dl y li e d a b o ut t h e pr os e c uti o n i n t his c as e a n d s h e s h o ul d b e h el d i n C o nt e m pt of C o urt

        a n d a n i n v esti g ati o n of h er s h o ul d b e r ef err e d t o t h e Offi c e of Pr of essi o n al R es p o nsi bilit y a n d t h e

        S o ut h D a k ot a B ar . T h e C o urt c a n n ot all o w Pr os e c ut ors t o li e wit h i m p u nit y or it bri n gs t h e e ntir e

        s yst e m of j usti c e i nt o disr e p ut e .

   6 9. T his C o urt s h o ul d or d er t h e G o v er n m e nt t o pr o vi d e D ef e ns e E x p ert J o h n Ni x o n a c c ess t o t h e

        Dis c o v er y, u n hi n d er e d A c c ess t o t h e b ull et f or t esti n g c o nsist e nt wit h D ef e n d a n ts E x hi bit D, CJ A

        Vo u c h er 0 8 6 9. 1 5 7 0 9 8 5, el e ctr o ni c all y si g n e d b y J u d g e K ar e n E. S c hr ei er a n d Ei g ht h Cir c uit

        C hi ef J u d g e L a v e ns ki R. S mit h.

   7 0. T o a d dr ess t h e r e p e at e d f ail ur es o n t h e p art of t h e G o v er n m e nt t o pr o vi d e R ul e 1 6 dis c o v er y,

        Br a d y a n d Gi gli o i nf or m ati o n, a p pr o pri at e r es p o ns es t o C o urt a p pr o v e d f or e nsi c t esti n g a n d t o

        r e m e d y t h e u nf air a n d u n e q u al tr e at m e nt pr o vi d e d i n t his c as e t h e D ef e n d a nt R es p e ctf ull y M o v es

        t his H o n or a bl e C o urt f or a n Or d er r e q uiri n g stri ct c o m pli a n c e wit h t h e G o v er n m e nt’s o bli g ati o ns

        wit hi n f o urt e e n ( 1 4) d a ys of t h e C o urt’s Or d er.



   W H E R E F O R E D ef e n d a nt r es p e ctf ull y pr a ys t his H o n or a bl e C o urt f or its Or d er t o C o m p el F e d. R.

   Cri m. Pr o. 1 6. Dis c o v er y, ti m el y Br a d y, a n d Gi gli o Dis cl os ur e a n d f or A d diti o n al R eli ef as d et ail e d i n

   t h e b o d y of t his M oti o n.

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   D at e d t his 1 9 t h d a y of J ul y 2 0 2 3

   R es p e ctf ull y,

   / s / Ki m berlee Pit a w a n a k w at

   Ki m b erl e e Pit a w a n a k w at
   2 6 2 1 4 F ost er R o a d
   M o nr o e, O R 9 7 4 5 6
   ki m b erl e e. pit a n k wt @ g m ail. c o m

   c c: H e at h er S a z a m a, Assist a nt U nit e d St at es Att or n e y, Distri ct of S o ut h D a k ot a, vi a e m ail:
   H e at h er. S a z a m a @ us d oj. g o v




                                                            P a g e 1 9 of 1 9
